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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                            CIVIL MINUTES - GENERAL


 Case No.         CV 21-0267-CBM(JCx)                                                     Date      SEPTEMBER 28, 2021


 Title      A. Arthur Fisher v. 2GreenEnergy, LLC et al


 Present: The Honorable            CONSUELO B. MARSHALL, UNITED STATES DISTRICT JUDGE



                   YOLANDA SKIPPER                                                     NOT REPORTED
                          Deputy Clerk                                                   Court Reporter


                Attorneys Present for Plaintiffs:                            Attorneys Present for Defendants:
                            None Present                                                None Present



 Proceedings:             IN CHAMBERS - Order To Show Cause Re: Dismissal for Lack of Prosecution


Absent a showing of good cause, an action must be dismissed without prejudice if the summons and complaint are not
served on a defendant within 90 days after the complaint is filed. Generally, defendant must answer the complaint within
20 days after service (60 days if the defendant is the United States.)


In the present case, it appears that one or more of these time periods has not been met. Accordingly, the court, on its own
motion, orders plaintiff(s) to show cause in writing on or before NOVEMBER 1, 2021 why this action should not be
dismissed for lack of prosecution. As an alternative to a written response by plaintiff(s), the Court will consider the filing
of the following, as an appropriate response to this Order To Show Cause, on or before the above date, as evidence that
the matter is being prosecuted diligently:
          Plaintiff's noticed motion for entry of default judgment pursuant to Rule 55b of the Federal
          Rules of Civil Procedure.


It is plaintiff's responsibility to respond promptly to all Orders and to prosecute the action diligently, including filing
proofs of service and stipulations extending time to respond. If necessary, plaintiff(s) must also pursue Rule 55 remedies
promptly upon the default of any defendant. All stipulations affecting the progress of the case must be approved by this
Court. (Local Rules 7-1 and 7-2).



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No oral argument of this matter will be heard unless ordered by the Court. The Order will stand submitted upon the filing
of a responsive pleading or motion on or before the date upon which a response by plaintiff(s) is due. This action will be
dismissed if the above mentioned documents are not filed by the date indicated above.


IT IS SO ORDERED.


cc: all counsel




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